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 8                         UNITED STATES DISTRICT COURT
 9                       SOUTHERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                          Case No. 21-cr-03429-BAS-3
12                                   Plaintiff,
                                                        ORDER DENYING MOTION TO
13         v.                                           REDUCE SENTENCE (ECF No. 98)
14   SIXTO ISIDRO CORTES SINISTERRA,
15                                 Defendant.
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18         Defendant Juan Sixto Isidro Cortes Sinisterra pled guilty to Possession with intent
19   to distribute 2630 kilograms of cocaine and operating a semi-submersible vessel without
20   nationality submerged to avoid detention. (ECF No. 59.) The Court sentenced Defendant
21   to 108 months concurrent on each count. (ECF No. 97.)
22         Since then, the U.S. Sentencing Commission adopted amendments to the United
23   States Sentencing Guidelines (“U.S.S.G.”), which were submitted to Congress and became
24   effective November 1, 2023. See Sentencing Guidelines for the United States Courts, 88
25   Fed. Reg. 60534 (Sept. 1, 2023); U.S.S.G. Amend. 821. Under Part B, these retroactive
26   amendments added an “Adjustment for Certain Zero-Point Offenders.” U.S.S.G. § 4C1.1.
27   This adjustment provides for a two-point decrease in the offense level for defendants who
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 1   “did not receive any criminal history points” when calculating the defendant’s criminal
 2   history. Id. § 4C1.1(a)(1)–(10).
 3         Based these amendments, Defendant now files a Motion to Reduce Sentence. (ECF
 4   No. 98.) The Court referred the Motion to the Federal Defenders Office for an evaluation.
 5   (ECF No. 99.) Federal Defenders has now filed a Status Report concluding the Court “can
 6   decide the Motion on the existing record without the assistance of counsel.” (ECF
 7   No. 101.)
 8         At the time of sentencing, the Court calculated Defendant’s original guideline range
 9   as 168–210 months (based on a base offense level of 35 and a criminal history category of
10   I). Defendant had no prior criminal record, so he qualifies under the new guideline
11   amendments as a zero-point offender. (Presentence Report ¶¶ 40–41, ECF No. 67.) Thus,
12   his base offense level would now be 33, and his new guideline range is 135–168 months.
13         However, at the original sentencing, the Court departed downward and imposed a
14   sentence of 108 months. (ECF No. 97.) This 108-month sentence would still be below
15   Defendant’s guideline range even after the guideline amendments are applied. Under
16   Application Note 3 to U.S.S.G. § 1B1.10, the Court may only reduce a defendant’s
17   sentence—because of an amended guideline—to the low end of the amended guideline
18   range. In this case, the low end of the amended guideline range is 135 months. Since the
19   Court sentenced Defendant to a lower sentence of 108 months, Defendant is not entitled to
20   a reduced sentence.
21         Therefore, Defendant’s Motion to Reduce Sentence (ECF No. 98) is DENIED.
22         IT IS SO ORDERED.
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24   DATED: April 19, 2024
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